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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL



       Case No.      CV 22-02378 DSF (MARx)                                     Date   September 26, 2022

       Title         The Blacklist Online, LLC et al v. Matthew Wagner et al.
       Present: The Honorable         DALE S. FISCHER, United States District Judge
               Patricia Kim for Renee Fisher                                Pat Cuneo
                       Deputy Clerk                                       Court Reporter
              Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     David S Gingras                                      Daniel S Miller
       Proceedings: SCHEDULING CONFERENCE


             The matter is called and counsel state their appearances. The parties are to provide
      the form consenting to proceed before a magistrate judge by next week.




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